                 IN THE UNITED STATES DISTRICT COURT FOR THE
                         MIDDLE DISTRICT OF TENNESSEE
                              NASHVILLE DIVISION

UNITED STATES OF AMERICA                             )
                                                     )
                                                     )
v.                                                   )       Criminal No. 3:11-00082
                                                     )       Judge Trauger
                                                     )
[17] SPENCER RANDOLPH                                )


                                           ORDER

       It is hereby ORDERED that the Sealed Order (Docket No. 956) granting the sealed

motion of this defendant (Docket No. 950) is VACATED. A clerical error was made in the

entry of the Order. Instead, as the court originally intended, the sealed motion of this defendant

(Docket No. 950) is DENIED.

       It is so ORDERED.

       ENTER this 2nd day of August 2012.


                                                     ________________________________
                                                           ALETA A. TRAUGER
                                                             U.S. District Judge




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